% AQ 472 (Rev. 3/86) Order of Detention Pending Trial
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UNITED STATES DISTRICT COURT

 

 

 

 

 

Northern District of Texas at Fort Worth
UNITED STATES OF AMERICA
V. ORDER OF DETENTION PENDING TRIAL
RANDALL ALLAN TAYLOR (01) Case 4:22-M]J-866
Defendant

In accordance with the Bail Reform Act, 18 U.S.C. § 3142(f), a detention hearing has been held. I conclude
that the following facts require the detention of the defendant pending trial in this case.
Part I—Findings of Fact
() (1) The defendant is charged with an offense described in 18 U.S.C. § 3142(A(1) and has been convicted ofa [[] federal offense [[] state
or local offense that would have been a federal offense if a circumstance giving rise to federal jurisdiction had existed that is
CI acrime of violence as defined in 18 U.S.C. § 3156(a)(4).
(J an offense for which the maximum sentence is life imprisonment or death.
[an offense for which a maximum term of imprisonment of ten years or more is preseribed in

 

 

( a felony that was committed after the defendant had been convicted of two or more prior federal offenses described in 18 U.S.C,
§ 3142(f)(1)(A)-(C), or comparable state or local offenses.
C] (2) The offense described in finding (1) was committed while the defendant was on release pending trial for a federal, state or local offense.
[] (3) A period of not more than five years has elapsed since the [1] date of conviction [[] release of the defendant from imprisonment
for the offense described in finding (1).
[C] (4) Findings Nos. (1), (2) and (3) establish a rebuttable presumption that no condition or combination of conditions will reasonably assure the
safety of (an) other person(s} and the community. | further find that the defendant has not rebutted this presumption.
Alternative Findings (A)
of (1) Thee is probable cause to believe that the defendant has committed an offense .
er hich a maximum term of imprisonment of ten years or more is prescribed in Z\ wse 23 Bul Bex.
(1) under 18 U.S.C. § 924(c).

 

C] under .
ef (2) The defendant has not rebutted the presumption established by finding | that no condition or combination of conditions will reasonably assure
the appearance of the defendant as required and the safety of the community. , (2?
Alternative Findings (B)
[] (1) There is a serious risk that the defendant will not appear.
[] (2) There is a serious risk that the defendant will endanger the safety of another person or the community.

 

 

 

Part Il—Written Statement of Reasons for ne in

I find that the credible testimony and information submitted at the hearing establishes by clear and convincing evidence [1 a prepon-

derance of the evidence that

Dr lendoms's ¢ciminel Insiery, Including a prise Gedersl conuiction ptr)
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Part II1l—Directions Regarding Detention
The defendant is committed to the custody of the Attorney General or his d ypfeyentative for confinement ina corrections facility separate.
5 dy pending appeal. The defendant shall be afforded a
‘a court gf the United States or on request of an attorney for the
lant to thy United States marshal for the purpose of an appearance

 

 

  
       
 

reasonable opportunity for private consultation with defense cou
Government, the person in charge of the corrections facility shal
in connection with a court proceeding.

\o App retts—
Date SSeemrature of Judicial Officer
HAR. RAY, JIR., UNITED STATES MAGISTRATE JUDGE

Name and Title of Judicial Officer

  
   

‘deliver the defer

 

 

  
 
   
 

*Insert as applicable: (a) Controlled Substances Act (21 U.S.C. »
et seg.). or (c) Section | of Act of Sept. 15. 1980 (21 U.S.C. § £35a).

.): (b) Controlled Substances Import and Export Act (21 U.S-C. § 951
